            Case 5:21-cv-04016-EFM-ADM Document 1 Filed 03/01/21 Page 1 of 16



                                                                                                         Reset Form


                                          IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF KANSAS


                                                                  )
                                                                                       [r~[L[g~
                                                                  )
                                                                                            MAR O12021
          (Enter above the full name of Plaintiff(s))            )
                                                                                      qlerk~.District Court
                                                                                     B : · ~ ~eputy Clerk
                                                                 )
    vs.                                                          )
                                                                 )
                                                                 )       Case Number:    S : '2. I ... Ct.I- 0 4 0 I&;-- f f"M-
               <.)
    Name f.x,f'Dt--'f!, ~'-€A.,\:..:,__ <e ~J'f.i )              )                   (To be assigned by Clerk)        ADM
                                                                 )
    sl\oo Sw eu<.V\,6,~_1-- S,·.                                 )
    Street and number                                            )
                                                                 )
                                                                 )
    City'                  State               Zip Code          )

    (Enter above the full name and address of
    Defendant in this action - list the name and address
    of any additional Defendants on the back side of
    this sheet.)

                                   EMPLOYMENT DISCRIMINATION COMPLAINT

    1.         This employment discrimination lawsuit is based on (check only those that apply):

              J2[          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq.,
                           for employment discrimination on the basis ofrace, color, religion, gender, or
                           national origin.
                           NOTE: In order to bring suit in federal district court under Title VII, you mustfirst
                           obtain a right-to-sue letter from the Equal Employment Opportunity Commission.

               O_          Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et
                           seq., for employment discrimination on the basis of age (age 40 or older).
                           NOTE: In order to bring suit in federal district court under the Age Discrimination
                           in Employment Act, you must first file charges with the Equal Employment
                           Opportunity Commission.

                           American with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq.,
                           for employment discrimination on the basis of disability.
                           NOTE: In order to bring suit in federal district court under the American with

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                DisabWties Act, you must first obtain a right-to-sue letter fi·om the Equal
                Employment Opportunity Commission.

       D        Other (Describe)

                   ( >,..) ,...h~""'.t 0cN~    \--e_,\:~      \,<.   Ao),p,,,,~.(l..,~ ~vc   "t"ti   ct;<lVce....L
                   o{G1:e h() u 'v-,.\ cbt: 8 6 0 G 1 J,"-l··.s c. ou,rx \A t-..-S I u, \.6J,\L¾'vllv'--
                ) Y\


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2.    If you are claiming that the discriminatory conduct occurred at a different location than the
      address prov· ed for Defendant, please provide the following information:


      (Street Address) (City/County) (State) (Zip Code)

3.    When did the discrimination occur? Please give the date or time period:

          w --e ,6, 1   o~      1.__,o ·7-,0


                              ADMINISTRATIVE PROCEDURES

4.    Did you file a charge of discrimination against Defendant(s) with the Kansas State
      Division of Human Rights or the Kansas State Commission on Human Rights?

      ·_tlYes           Date filed:   s--e.:e. c: d -lt. C~l\,J.1 ~ "J'Y\ )
      __D_No

5.    Did you file a charge of discrimination against Defendant(s) with the Equal Employment
      Opportunity Commission or other federal agency?

       0'Yes
       C:I No
6.    Hav~,you received a Notice of Right-to-Sue Letter?
       [21, Yes ·1 1 No 1




      If yes, please attach a copy of the letter to this complaint.

7.    If you are claiming age discrimination, check one of the following:

      IXJ 60 days or more have passed since I filed my charge of age discrimination with the
      Ig 1Employment Oppo1tunity Commission.
          1
      _ _ fewer than 60 days have passed since I filed my charge of age discrimination with

                                                    2
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       the Equal Employment Oppo1tunity Commission

                                      NATURE OF THE CASE
8.     The conduct complained ofin this lawsuit involves (check only those that apply):
        D failure to hire me
        D termination ofmy employment
        D failure to promote me
        I:>i-failure to accommodate my disability
       ffl      terms and conditions of my employment differ from those of similar employees
                retaliation
                harassment
       ~ reduction in wages
       _[_'.:]' other conduct (specify):




       Did you complain about this same conduct in your charge of discrimination?

         12:f~ Il
                es           No

9.     I believe that I was discriminated' against because of (check all that apply):

        D     my race or color, which is _ __ _ _ _ __
        D     my religion, which is _ _ _ __ _ _ _ _ __
       .J:!__ my national origin, which is -----..___,-- -- - - - -
        •     my gender, which is D male;            D  female
        D my disability or perceived disability, which is       b•i~'ioVv
                                                                   1,V\, cis~t tc.,\o-. .-, lo'cv,.si...,
        D my age (my birth year is: _ __ _ __ __ _ ___,
       .J:!__ other: _ _ _ _ _ _ _ __ _ __ _ __ __ _ __ __ _ _ _ __

       p o u state the same reason(s) in your charge of discrimination?
           Yes      _D_No

10.    State here, as briefly and clearly as possible, the essential facts of your claim. Describe
       specifically the conduct that you believe is discriminatory and describe how each
       defendant is involved in the conduct. Take time to organize your statement; you may use
       numbered paragraphs if you find it helpful. It is not necessary to make legal arguments, or
       to cite cases or statutes.




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           R..o\~\ \ ~                        c,,   \I\   t     e-_ •     ..s·-(,.,'S::       :S Dp-'e: c \/ \ \ o'c::




        (Attach additional sheets as necessary) .

11.     The acts set forth in paragraph 10 of this complaint:
        _D_ are still being committed by Defendant.
       ~ are no longer being committed by Defendant.
         I I
         may still be being committed by Defendant.

12.                                                                               Plaintiff:
         0         still works for Defendant
        J$J: no longer works for Defendant or was not hired
13.    If this is a disability-related claim, did Defendant deny a request for a reasonable
       accommodation?
       _Q_Yes                   No   I I


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       ro    ~vl,(t         bLt         ~ y Ih ~                    tY\   -e_, v..JtJr'l


                                                               REQUEST FOR RELIEF

As relief from the allegations of discrimination as stated above, Plaintiff prays that the court grant
the follolinJ relief to Plaintiff: (check any and all that apply)
                          Defendant be directed to employ Plaintiff
        -------,-"Ic=,-1- Defendant be directed to re-employ Plaintiff

          D               Defendant be directed to promote Plaintiff
               0 Defendant be directed to _ __ _ __ _ __ _ _ __ __ _ __

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              ~Injunctive relief(please explain):_ c,, < ·nv--c. ~..o , f:/H.AJc,\(\.·t,p_,, p·,,00.vAnM.J Cl\' tJ-.1v-J-t\'.
               0,---,__Monetary damages (please exp lam): \ <LS.S ,... 1c"J ,e , ""'J. A v.J O 1,.., , " ~ t., J r:-{' k.d, ..v-.
                N     Costs and fees involved in litigating this case          7          ~ !)
               D As additional relief to make Plaintiff whole, Plaintiff
     seeks:    ptc.d!J,q-'✓if fl ra-4dv,<1.L1      r l!f_." 1;, H - +0      'r c.c \>-'u..J -,   &   fY\Mc \,   fr . be_.( l. Ju, &fi .•
c~0"'®cs      !ov,4; ul,      tYU (     <n   J,.. ,h   ,l,7     he41 wx/ 014-f r '1"2", r                            <0 ,, "'' d,,a,,,_,,,,,, t,
     and such other relief as may be appropriate, including attorney's fees, if applicable.




                                                                    Name (Print or Type)                    -\t-, -;J))
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                                                                    Address
                                                                     I?yX?k, \{ ,Ly              (o(::Z fo ; v'L-
                                                                    City State Zip Code
                                                                      ~ fS- 7 ;3d                ~f Zf
                                                                    Telephone Number

                                        DESIGNATION OF PLACE OF TRIAL

    Plaintiff designates L   •   Wichita,    •Kansas City, npeka}, Kansas as the location for the trial in
                                     (Select One Location) 7 '--
    this matter.                                                .      c~
                                                                    SignatureoPlaintiff

                                         REQUEST FOR TRIAL BY JURY

    Plaintiff requests trial by jury.   ZYes (Select One)
                                                         I I No                        <_
                                                                      <<tZ       _:>
                                                                    Signaturec5f Plaintiff
                                                                                                     -
    Dated: 2. -a;·~2d,!,,./
    (Rev. 10/15)


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                                            Statement continued




that a modified schedule be applied that consisted of me being on my feet for 30 minutes and off of my
feet for 30 minutes for the full 10 hour shift, and this was applied by light duty for four days until my
next doctor's appointment in which the lesion was discovered by x ray. At that time the physician
recommended that I work 30 minutes on my feet and 30 minutes off my feet for half shifts until I was
seen by a specialist because the injury was sufficient enough to cause physical impairment substantially
limiting all of my major life activities which require that I be on foot to complete. A record of the lesion
in my talar dome was provided to target and its medical providers and can also be viewed in exhibit#. In
light of the doctors concern they recommended a modified work schedule as I was regarded as having
such a substantial physical impairment ... ! worked this schedule for two days until target hr
representative margaret stated they didn't need me in the building for two and a half hours a day and
then took it upon herself to engage in the deceptive practice of opening a three week leave without my
knowledge and knowingly made a false representation to me about the benefits of me being paid my
full pay while I was on leave, as workers comp would pay a portion of my salary and target would pay
the balance. After the three weeks expired I returned to work, I was not paid for the three week leave
and also I was denied re-entry into the building which was an clear denial of reasonable accommodation
that prevented me from performing the essential duties of my job in which materially changed my
conditions of employment by failing to accommodate my disability unless I paid a physician out of
pocket to{ removed all restrictions) prior to my return also substantially impacting my salary, which was a
unlawful attack against my disability.. Further acts of illegal retaliation continued when I returned with a
certified physician's note removing all restrictions SEE ( exhibits #) and I was still denied re-entry into
the building due to my disability unless I paid another physician out of pocket for the exact same
statement. After presenting a second doctors recommendation that all restrictions be removed I was still
denied reentry into the building due to my disability, I was then forced to consult with the reed group
Targets insurance and medical provider whom had to supersede the target hr decision to ban me from
working and allowed me to work based off the same return to work with no restrictions I presented to
the hr department. AS this transpired an employee under similar light duty circumstances agreed to sign
a handwritten statement that they were also on light duty for disabilities but was allowed to work and
receive their full pay while on light duty. see exhibit#




A summary judgement in my favor is appropriate from the defendants failure to accommodate
whereas there is no genuine issue of material fact outside of deceptiveness for targets
discrimination in direct relation to my disability when target denied me the reasonable
accommodation set forth in the requirements of the ADA when they altered the conditions of my
employment by canceling my light duty contract denying me of the liberty to perform the essential
duties of my job, which was differential to the employees under similar circumstances .The
defendants actions violationing my protected Due process rights to be free from disability related
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harassment from the employer.




A summary judgement for myself is appropriate from the defendants actions to classify me in a way
that adversely affected my compensation whereas no genuine issue of material fact supports why
target reduced my pay to zero dollars (in a deceptive practice) well below the temporary disabled
benefits of light duty when my salary was in excess of 19 dollars an hour when employees under
similar circumstances were receiving full pay and were allowed entry into the building with and
without disabilities. The defendants actions violated my protected Due Process right to be free from
discrimination within my compensation.


Target representatives violated my procedural due process in failing to provide me with a formal
grievance procedure in which I could document and or challenge unlawful practices from its officials or
its subordinate employees.

Target officials illegally retaliated against my disability when they breached our light duty contract by
being adverse to the issues addressed within the contract offered by target, in direct relation to my
disability, and by refusing me re entry into the building under their own authority prior to the expiration
of light duty contract, even after I presented two return to work with ho restrictions from certified
doctors which was a clear and convincing adverse action against my disability. I request that the court
grant compensatory damages to myself for Mental Anguish due to the defendant's refusal to
accommodate my condition at the workplace, in the amount of $300,000 us dollars because of the
hardship created by targets discrimination against my person & failure to pay and failure to allow me to
work with my disability, was the starting point of me experiencing three evictions, outlandish fee
enhancements and affected all things financial.




I request that the court issue an injunctive relief against the defendants that a formal grievance
procedure be provided at all times and that this be posted in all employee break rooms. Should the
court decide not to grant this relief irreparable harm could come to everyone employed by target, that
their grievances will not be heard potentially depriving law abiding working citizens substantial rights in
and out of court while engaging in such protected actions of documenting adverse actions from target
stores and distribution centers.-




I request that the court grant relief of my lost pay for the three week leave target opened in a three
week leave ( for Abcess) w/o my knowledge in an discriminatory and deceptive manner by leading me
to believe that I would be paid for the leave I unlike other employees that were paid in full with and
without disabilities, these actions violated the Equal Pay Act; I request double my salary for this
egregious conduct from the employer coercing me to believe that they opened a legitimate leave on my
          Case 5:21-cv-04016-EFM-ADM Document 1 Filed 03/01/21 Page 8 of 16
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behalf.




 in which was the starting point of my financial crisis due to my disability .I request that the court grant
punitive damages to myself in the amount of 300,000 us dollars for the target representatives illegal
retaliation directly related to my disability by the target distribution.




Argument

After being injured at target while unloading a trailer I was referred to a physician for an analysis of my
right ankle. Prior to a final determination it was recommended that I work light duty modified shift.
Being that the injury only slowed me down however had no effect on my actual performance I was
qualified to work my modified schedule and target agreed to a light duty contract whereas my
presence was not a hardship on the company nor did my disability cause me to be a threat to any
surrounding workers.

After the lesion was discovered It was recommended that I work a less stringent schedule until a
determination could be made on my injury. Target also complied with the accommodation being that
I was still qualified to work with the injury and my presence was not a hardship on the company or
its employees target offered a light duty contract in which I agreed to working.
In a unlawful practice. Target hr ex spelled me from the building (due to my injury) and took it upon
themselves to open a leave misleading me to believe that it was a paid leave and failed to pay me for
the leave as stated creating a undue financial hardship because my confidence was in the misleading
presentation of the leave opened by the hr. After the three week leave I was denied entry into the
building by the hr. This action violated my 14th and 8th amend due process rights to be (free from
discrimination within my compensation).

Due to the fact the leave was in relation to my injury I excercised my rights under the ADA to engage in
the protected activity of reasonable accommodation to work the modified schedules and when the
target hr revoked the light duty contract and banned me from the building due to my injury their
actions created an interference within my employment and retaliation for my engagement in the
protected activity, target representatives thus violating my protected 14th and 8th amend due process
rights (to be free from retaliation and interference at the workplace ......

When target hr singled me out by banning me from the building unless I removed the restrictions was a
direct action against my disability and violated the ADA cause target required me with a disability to
return with no medical restrictions in order for me to enter the building ... and target refusing to pay me
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while my light duty contract was legally active, which was an materially adverse action to similarly
situated employees violated the kansas statute § 40- 2403 defining prohibited acts of deceptive acts and
or practices and also the equal pay act of 1963. In doing so, target representatives violating my
protected 14th and 8th amend due process rights to be (free from retaliation and discrimination at the
work place).

Target denial of a formal grievance procedure in this case denied me of the right to intervention of the
unfair acts herein listed and violated my protected 14th and 8th amendment due process right to be(
free from restraint of reprisal)

at the workplace.

Breach of contract exist where the physical light duty contract was provided by target and with
recommendations from certified physicians gained sufficient consideration to support the contract in
which I agreed to work in compliance with th contract and the defendants breached the contract by
being adverse to the requirements of the contract by not letting me work substantially affecting the
terms and conditions of my employment; violated my protected 14th and 8th amend due process
rights to be (free from unlawful retaliation). I request compensatory damages of $300.000 cause the
defendants breach my light duty contract on the basis of my disability, knowing that I was an
qualified individual in which agreed to (their) light duty terms.

                                       Table of Authorities

Kansas statute § 40-2403: defines unfair method of competition of deceptive acts and practices in
the business of insurance pursuant to K.S.A. 40- 2406

42 U.S. code§ 12112 (a).

12111,(b)(S)(A) 1994: defines, no entity shall discriminate against one's disability within
compensation and other terms of employment.

U.S. Code 5 U.S.C. § 5596(A) (i), (2)(A) back pay due to unjustified personnel action.

5 CFR § 9701. 521- 5 U.S.C. 2302 (b)(l)- Grievance procedures (a)(l), (b)(l)(i)(ii), (e)(l)

Soto v Herrs food, Inc 2012 NJ work comp lexis 4: defines employer reducing wages during light duty.

ADA Act of 1990, 42 U.S.C. § 12102 discrimination US code

The Rehabilitation Act of 1973 section 504: defines protection for qualified individuals with disabilities.

Commercial credit corporation v Harris 212 Kan. 310, 313, 510 p.2d 1322 (1973): Defines breach of
contract. See, Stechschulte v Jennings, 297 Kan. 2, 24, 298 p3d 1083, 1098.: defines damages awarded
for breach of contract.
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Hubbell v Fed ex smartpost, inc, no. 1727 {6th cir. 2019

Burlington N. & Santa fe ry.co. v white, 548 U.S. 53, 68 {2006).

Higgins v New Balance Athletic shoe, Inc. 194 F.3d 252, 264 (1st cir. 1999).

Smith v Midland brake, Inc, 180 F.3d 1154, 1169, 1179 (10th cir. 1999).

Bartee v Mihelin N. Am., Inc 374 F.3d 906, 912 n. 4 (10th cir. 2004).

Punt v Kelly Service. 862 F.3d 1040, 1048 {10th cir. 2017).

Selenke v Med. Imaging of colo., 248 F.3d 1249, 1261 (10th cir. 2001).

Sears roebuck & Co .. , 233 F.3d at 437.

Marshall v Fed Exp. Corp., 130 F.3d 1095, 1099 (D.C. Cir. 1997).

Kidd v Mando Am. Corp., 731 F.3d 1196, 1203 (11th cir. 2013).

Davis v Team Elec. Co., 520 F.3d 1080, 1089 (9th cir. 2008).

Jones v Se. Pa.Trans. Auth., 796 F.3d 323, 326 (3rd cir. 2015).

Powers v summers, 226 F.3d 815, 820 (7th cir. 2000).

Bergeron v Cabral, 560 F.3d 1 7-8 (1st cir. 2009).

Mathirampuzha v potter, 548 F.3d 1 7-8 (1st cir. 2008).
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                                WITHDRAWAL STATEMENT


I, Clifton D. Taylor residing at 800 SW Polle St., Apt. 30 Topeka, KS 66612 hereby withdraw my

complaint, docket number 42378-21, which was filed with the Kansas Human Rights Commission

on September 18, 2020, against Target Distribution Center, and its representatives, whose address is

1100 SW 57th St. Topeka, KS 66609. I realize that my withdrawing this complaint, the Kansas

Human Rights Commission will close my complaint without further processing. I am aware that

the Kansas Human Rights Commission and the Federal Government protect my right to file a

charge and have been advised that it is unlawful for any person covered by the Kansas Act Against

Discrimination, Title VII and/or the Age Discrimination in Employment Act to threaten, intimidate,

harass, or otherwise retaliate against me because I have filed a charge. I have not been coerced into

requesting this withdrawal.




                               COMPLAINANT or ATTORNEY SIGNATURE

                               X    (2,;7- I 7~ :2 o z, I
                                               DATE

I further request to withdraw a similar complaint filed with the Equal Employment Opp01tunity

Commission, docket number 28D-2020-00865C.




*NOTE: Sign both signature lines only if you wish to withdraw both complaints.



Revised 7/7/2015
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 EEOC Form 161-B (11/2020)                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Clifton D. Taylor                                                                    From:     St. Louis Dis~rict Office
        800 Sw Polk St., Apt. 30                                                                      . 1222 Spruce Street
        Topeka, KS 66612                                                                               ·Room 8.100 ·
                                                                                                       Saint Louis, MO 63103




       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.l(a))

 EEOC Charge No.                                         EEOC Representative                                                  Telephone No.

                                                         Joseph J. Wilson,
 28D-2020-00865                                          State & Local Program Manager                                        (314) 798-1930
                                                                                         (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title ✓ II, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue baued on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

       D         More than 180 days have passed since the filing of this charge.

       [KJ       Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                 be able to complete its administrative processing within 180 days from the filing of this charge.
       [KJ       The EEOC is terminating its processing of this charge.

       D         The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       D         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. otherwise, your right to sue based on the above-numbered charge will be lost.


       D         The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that back pay due for
any violations that occurred more than 2 years (3 yea_".§.} before you file suit may nofbe collectible.

If you file suit, based on this charge, please send a copf of your court complaint to this office.


                                                                            On behalf of the Commission


                                                              Joseph Wilson.· . Dlgit~llysignedbyJos~phWiiso~
                                                                                Date. 2021.02.09 08:08.33 -06 00
                                                                                                                             February 9, 2021
 Enclosures(s)                                                         Lloyd J. Vasquez, Jr.,                                      (Date Issued)
                                                                          District Director

cc:           LeeAnn Schellenberg
              Lead Employee Relations Paralegal
              TARGET CORPORATION
              33 South Sixth Street, CC-1810
              Minneapolis, MN 55402
                  Case 5:21-cv-04016-EFM-ADM Document 1 Filed 03/01/21 Page 13 of 16
Enclosure with EEOC
Form 161-B (11/2020)
                                         INFORMATION RELATED TO FILING SUIT
                                       UNDER THE LAWS ENFORCED BY THE EEOC

                       (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


                                   Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS
                                   the Genetic Information Nondiscrimination Act (GINA), or the Age
                                   Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) •i the date of the postmark or record of receipt, ~f later. ·

Your lawsuit may be filed in U.S. Di~trict Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employ 11ent records are kept, where the employment would have been, or
where the respondent has its main office. If} ou have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION               -··   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTA'~CE                     --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days~)                                                                                    '

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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                   ·sTATE OF KANSAS
           KANSAS HUMAN RIGHTS COMMISSION
                                                         KHRC Docket No.            L./--~ ::>~        -~ l
                                          EEOC Dual-Filed Charge No.*             ;n3D ~ ,.!JO,:;)O - 00 S'(o~
                                          *(Only for first filed KHRC, second filed EEOC complaints)

                On the complaint of

Clifton D. Taylor
                                                   Complainant,

                                vs.


                                                   Respondent,

Target Distribution Center and its Representatives


I, Clifton D. Taylor, residing at 800 SW Polk St., Apt. 30, Topeka, KS 66612

charge Target Distribution Center and its Representatives, whose address is 1100
SW 57th St., Topeka, KS 66609

With an unlawful practice within the meaning of:

[X] The Kansas Act Against Discrimination (Chapter 44, Art.· 10, K.S.A.) and
specifically within the meaning of subsection (a)(1) (a)(4) of Section 44-1009 of said
Act, because of my:

 () RACE                               () SEX                 (X) RETALIATION
 () RELIGION                           () NATIONAL ORIGIN     () GENETIC INFORMATION
 () COLOR                              () ANCESTRY            () FAMILIAL STATUS
 (X) DISABILITY, RECORD               OF, AND/OR REGARDED AS DISABLED

• The Kansas Age Discrimination in Employment Act (Chapter 44, Art. 11, K.S.A.)
and specifically within the meaning of subsection of Section 44-1113 of said Act,
because of my:
 () AGE          () RETALIATION

Alleged Date of Incident, on or about March 2020, to at least September 16, 2020.

The aforesaid charges are based on the following facts:

 I.    · I have a disability. I have openly opposed acts and practices forbidden by
         the Kansas Act Against Discrimination.

 II.   I have been employed by the Respondent since January 2020. I currently
       hold the position of Laborer.
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              STATE OF KANSAS
      KANSAS HUMAN RIGHTS COMMISSION
                                                                               (continued)
                                          KHRC Docket No.           4;;) 3--.:t-,<?     J   a<l
                           EEOC Dual-Filed Charge No.* ~~J ,QD..::tp                          J   00 ~k, 15
                           *(Only for first filed KHRC, second filed EEOC complaints)

 A.    From March 2020, to at least September 15, 2020, I was subjected to
       disparate treatment compared to similarly situated employees, in that
       my actions were more closely monitored.

 8.    From May 2020, to at least September 2020, I made complaints to
       Hun1-an'Resources regarcUng this treatment. Subsequently1 during the
       same timeframe, I was denied formal grievances.

 C.    In July 2020, I was subjected to corrective action.

 D.    In September 2020, I was denied a reasonable accommodation of light
       duty and working half shifts.

 E.    On September 1, 2020, I was subjected to a 2 week layoff.
          Case 5:21-cv-04016-EFM-ADM Document 1 Filed 03/01/21 Page 16 of 16

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                                                                                    Kansas Human Rights Commission

                                                                                   Docket No. 4 0--.3 ~ ,-,;i,,
                                                                                            c2 '8 ])- ~ - DO ~Co'5

           F.
           From September 15, 2020, to at least September, 16, 2020, I was
           denied the opportunity to work.
           I hereby charge Target Distribution Center and its Representatives with a
           violation of the Kansas Act Against Discrimination, In that I was subjected to
           disparate terms 1 conditions, and privileges of employment, denied formal
           grievances, subjected to corrective action, denied a reasonable
           accommodation, subjected to a 2 week layoff, and denied the opportunity to work
           duo to my clieabillty .:tt>.c1 ,,.., ~ot,;i .c.·f yafall:ation ;for havin9 -<.•ponly opFosed actst ~net
           practices forbidden by the Kansas Act Against Discrimination.



           I havo not commenced any action, civil or criminal, based upon the grievance set forth above,
           except


           I declare under penalty of perjury that the foregoing is true and correct;
           and if this document is executed outside the state of Kansas, I declare
           under penalty of perjury under the laws of the state of Kansas that the foregoing is
           true and correct.



           Executed on
           (Date) 09/17/2020
           (Clifton D. Taylor)         7l!:>~                                                               -'iEP J 8 2020
                            KANSAS H.UMAN RIGHTS
                            COM1\1ISSION


        State of
        Kansas
                                                              ss

        County
